Case 2:18-cv-09293-CJC-FFM Document 47 Filed 02/06/19 Page 1 of 1 Page ID #:1014



                            UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF CALIFORNIA

                               CIVIL MINUTES – GENERAL

  Case No. CV 18-09293-CJC(FFMx)                                   Date: February 6, 2019

  Title: MARK STEINES, ET AL. V. CROWN MEDIA UNITED STATES, LLC, ET AL.



  PRESENT:

       HONORABLE CORMAC J. CARNEY, UNITED STATES DISTRICT JUDGE

         Gabriela Garcia                                     N/A
         Deputy Clerk                                    Court Reporter

  ATTORNEYS PRESENT FOR PLAINTIFF:            ATTORNEYS PRESENT FOR DEFENDANT:

         None Present                                    None Present

  PROCEEDINGS: (IN CHAMBERS) ORDER DENYING WITHOUT PREJUDICE
  PLAINTIFFS’ MOTIONS TO DISMISS AND STRIKE [Dkts. 38, 39] AND
  ORDER TO SHOW CAUSE RE DISMISSAL FOR FAILURE TO PROSECUTE
  AND COMPLY WITH COURT ORDER

         On January 8, 2019, Plaintiffs filed motions to dismiss and strike Defendants’
  counterclaims and set a hearing date for February 11, 2019 at 1:30 p.m. (Dkts. 38, 39.)
  On January 16, 2019, the Court granted Defendants’ motion to disqualify Plaintiffs’
  counsel. (Dkt. 42.) The Court directed the parties to meet-and-confer regarding the
  briefing schedule and hearing date on Plaintiffs’ pending motions, after Plaintiffs
  obtained new counsel. (Id.)

         Plaintiffs have not complied with the Court’s January 16, 2019 order. Plaintiffs
  have neither obtained new counsel nor updated the Court regarding any efforts.
  Accordingly, Plaintiffs’ pending motions to dismiss and strike are DENIED WITHOUT
  PREJUDICE. The Court hereby ORDERS Plaintiffs to show cause in writing no later
  than February 25, 2019 as to why this action should not be dismissed for its failure to
  prosecute and comply with the Court’s order. Former Plaintiffs’ counsel is DIRECTED
  to serve this order to Plaintiffs.

  sa

  MINUTES FORM 11
  CIVIL-GEN                                                         Initials of Deputy Clerk GGA
